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 1                                                           THE HONORABLE JAMES L. ROBART

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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8   UNITED STATES OF AMERICA,
                                                         Case No. 2:12-cv-01282-JLR
 9                                 Plaintiff,
                                                         CITY OF SEATTLE’S STIPULATED
10                  v.                                   MOTION TO EXTEND DEADLINE FOR
                                                         MONITOR’S COMPLIANCE STATUS
11   CITY OF SEATTLE,                                    UPDATE

12                                 Defendant.            Noting Date: 04/28/2022

13          The City of Seattle (“City”) has conferred with the U.S. Department of Justice and the

14   Monitor and respectfully requests that the Court extend the deadline for filing the Monitor’s

15   Compliance Status Update (“Comprehensive Assessment”) to May 13, 2022.

16          A two-week extension would serve the interests of justice by allowing for additional time

17   for the Monitor and parties to validate the data in the Comprehensive Assessment, review and fine-

18   tune its analysis and conclusions, and collectively evaluate the path that it carves for the parties

19   moving forward.

20          Review of the Monitor’s April 2022 Use of Force Preliminary Assessment led the Seattle

21   Police Department (“SPD”) to identify and correct a data mapping error between a source system

22   for force reporting (IAPro) and the Data Analytics Platform, which powers SPD’s public data

23   source. Analyzing and correcting this error underscored the importance of validating the data


      CITY OF SEATTLE’S STIPULATED MOTION TO EXTEND                                   Ann Davison
                                                                                      Seattle City Attorney
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 1   throughout the Comprehensive Assessment. The draft of this report, which the parties received on

 2   April 19, 2022, involves four critical areas of compliance, with detailed data analysis across each

 3   of the four areas. While no further errors have been identified—and none are expected—the City,

 4   in an abundance of caution, respectfully requests additional time to fully validate the remaining

 5   data and ensure the integrity of the final product.

 6          Furthermore, the extension the City seeks would give the Monitor and the parties more

 7   time to review and fine-tune the highly nuanced analysis and conclusions throughout the

 8   Comprehensive Assessment. It would also give the parties a more robust opportunity to

 9   collectively consider the path forward from the conclusions and benchmarks in the Comprehensive

10   Assessment and to ensure that the final product provides sufficient and appropriate guidance in

11   this regard.

12          The Monitor and the U.S. Department of Justice have advised that they do not oppose this

13   request.

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                                           DATED this 28th day of April, 2022.
15
                                                   ANN DAVISON
                                                   Seattle City Attorney
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